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                          UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA

11
     Ms. L.,                                             Case No. 18-cv-00428-DMS-MDD
12
                           Petitioner-Plaintiff,
13   v.
                                                         Date Filed: March 2, 2018
14   U.S. Immigration and Customs Enforcement
     (“ICE”); U.S. Department of Homeland Security
15   (“DHS”); U.S. Customs and Border Protection
     (“CBP”); U.S. Citizenship and Immigration
16   Services (“USCIS”); U.S. Department of Health
     and Human Services (“HHS”); Office of
17   Refugee Resettlement (“ORR”); Thomas                PETITIONER-PLAINTIFF’S
     Homan, Acting Director of ICE; Greg                 MEMORANDUM IN
18   Archambeault, San Diego Field Office Director,      SUPPORT OF MOTION FOR
     ICE; Joseph Greene, San Diego Assistant Field       PRELIMINARY INJUNCTION
19   Office Director, ICE, Otay Detention Facility;
     Kirstjen Nielsen, Secretary of DHS; Jefferson
20   Beauregard Sessions III, Attorney General of the
     United States; Kevin K. McAleenan, Acting
21   Commissioner of CBP; L. Francis Cissna,
     Director of USCIS; Pete Flores, San Diego Field
22   Director, CBP; Fred Figueroa, Warden, Otay
     Mesa Detention Center; Alex Azar, Secretary of
23   the Department of Health and Human Services;
     Scott Lloyd, Director of the Office of Refugee
24   Resettlement,
25
                            Respondents-Defendants.
26

27

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                                                                    iv                                                  18cv0428
 1                                    INTRODUCTION
 2         This case involves the government’s forcible separation of Petitioner Ms. L.,
 3
     a Congolese asylum seeker, from her daughter, S.S. 1 S.S., a seven (7) year-old
 4

 5   little girl, was taken from her mother nearly four months ago, frantically screaming
 6   that she did not want to leave her mommy. Since that time, S.S. has been held in a
 7
     facility in Chicago (where she celebrated her seventh birthday alone), while Ms. L.
 8

 9   has been detained in San Diego. There was no accusation that Ms. L. was an unfit
10   parent, much less that she had engaged in abusive behavior toward her daughter.
11
     Nor has Ms. L. ever even been told why her petrified daughter was taken from her.
12

13   Ms. L. brings this action to reunite with her daughter. The government can release
14   both mother and daughter to a non-governmental shelter specializing in the care of
15
     asylum-seeking families. Alternatively, if the government feels compelled to
16

17   continue detaining this mother and small child, it can detain them together in a
18
     government family detention center. But one way or the other the government may
19
     not continue to keep them apart.
20

21         Ms. L. has a substantial likelihood of prevailing on the merits of her due
22
     process claim. It has long been settled that all “persons” are entitled to due process
23
     under the Fifth Amendment, regardless of their immigration status. It has likewise
24

25   been established for more than a century that the Due Process Clause prohibits the
26   1
      As set forth in Petitioner’s previously-filed motion to proceed under a pseudonym,
27   Ms. L. is using only her initial for fear that exposure will result in harm to her. As a
     minor, her daughter is also proceeding under her initials. A photograph of S.S. is
28
     attached to the (restricted) declaration of Elizabeth Lopez. See Ex. 11.
                                             1                                     18cv0428
1    government from separating a parent from her child absent the most compelling

2    reasons. And the only reason the law recognizes as sufficiently compelling to tear a
3
     young child away from her parent is to protect the child in extreme circumstances
4
5    when staying with the parent endangers the child. That has not even been alleged
6    here, much less demonstrated. The government’s forcible separation also violates
7
     the Administrative Procedure Act, because the government has provided no reason
8
9    at all for taking the drastic step of separating Petitioner from her child.
10         Ms. L. also satisfies the other preliminary injunction factors. Any
11
     conceivable harm that the government might try to claim in this case would be far
12
13   outweighed by the ongoing and potentially permanent harm to this 7 year-old little
14   girl. The American Academy of Pediatrics has roundly denounced the recent
15
     practice of separating immigrant children from their parents, and nine respected
16
17   medical experts from around the country have submitted declarations in this case
18   similarly condemning the practice, noting the overwhelming scientific consensus
19
     that separating young children from their parents causes severe and potentially
20
21   lasting damage. Ms. L. thus respectfully requests that the Court preliminarily
22
     enjoin the government from continuing to keep her away from her daughter, and
23
     allow them to be reunited in either a governmental or non-governmental facility.
24
25                                STATEMENT OF FACTS
26
              Ms. L. and her daughter fled their home in the Democratic Republic of
27
     Congo in fear for their lives. Ms. L. is Catholic so sought shelter with S.S. in a
28

                                                 2                                 18cv0428
1    church for a few days before eventually escaping the Congo. Upon arriving in the

2    United States, Ms. L. and her daughter presented themselves to border guards at the
3
     San Ysidro Port of Entry on November 1, 2017. Although their native language is
4
5    Lingala, they were able to communicate to the border guards in broken Spanish that
6    they feared returning to their country. Based on her expression of fear of returning
7
     to the Congo, Ms. L. was referred for an initial asylum screening interview (called a
8
9    “credible fear interview”). Because the asylum officer determined that she had a
10   significant possibility of ultimately obtaining asylum, she was placed into full
11
     immigration proceedings to formally apply for asylum, a lengthy process. See Ms.
12
13   L. Decl., Ex. 10 ¶ 2; Lopez Decl., Ex. 9 ¶ 4.
14         For approximately the first 4 days after arriving in the United States, Ms. L.
15
     and S.S. were detained together, in what Ms. L. understood to be some sort of
16
17   motel. They were then brought to an immigration office and placed into separate
18   rooms. Ms. L. heard her daughter frantically screaming that she did not want to
19
     leave her mommy. That is the last time Ms. L. saw her daughter. Since that day,
20
21   Ms. L. has been detained in the Otay Mesa Detention Center in the San Diego area.
22
     Her 7 year-old daughter was sent to Chicago, where she has remained in a facility
23
     ever since, without her mother or anyone else she knows. Ms. L. was not told why
24
25   her daughter was taken from her or where she had been sent. About four days later,
26
     the government finally arranged a phone call with S.S. Since that first call, there
27
     have only been a handful of additional calls over the almost 4 months S.S. and her
28

                                               3                                  18cv0428
1    mother have been separated (and not a single video conference so that S.S. can

2    actually see her mother). S.S. cries during these calls and is scared, both for herself
3
     and her mother, repeatedly asking how her mother is doing in prison. Ms. L. is
4
5    likewise scared and depressed, constantly worried about her daughter, making it
6    difficult for her to eat or sleep. See Ms. L. Decl., Ex. 10 ¶¶ 3-6.
7
           The government has never offered any reason why Ms. L.’s daughter was
8
9    taken from her. Yet, almost 4 months later, 7 year-old S.S. remains detained 2,000
10   miles away in Chicago, without her mother.
11
                                      ARGUMENT
12
13         To obtain a preliminary injunction, a plaintiff must establish (1) “that he is
14   likely to succeed on the merits,” (2) “that he is likely to suffer irreparable harm in
15
     the absence of preliminary relief,” (3) “that the balance of equities tips in his
16
17   favor,” and (4) “that an injunction is in the public interest.” Winter v. Nat’l Res.
18   Def. Council, Inc., 555 U.S. 7, 20 (2008). Courts evaluate these factors on a
19
     “sliding scale.” Arc of Cal. v. Douglas, 757 F.3d 975, 983 (9th Cir. 2014)
20
21   (quotation marks omitted). A “stronger showing of irreparable harm to plaintiff
22
     might offset a lesser showing of likelihood of success on the merits.” Alliance for
23
     the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011). Thus, where the
24
25   balance of hardships “tips sharply towards the plaintiff,” the plaintiff need only
26
     demonstrate “serious questions going to the merits.” Kaszuba v. Fidelity Nat’l
27
     Default Servs., 2011 WL 601525, at *1 (S.D. Cal. Feb. 10, 2011) (Sabraw, J.)
28

                                                4                                   18cv0428
1    (quotation marks omitted).

2    I. MS. L. IS LIKELY TO SUCCED ON THE MERITS OF HER CLAIMS.
3
           Ms. L. is likely to succeed on her due process claim. See infra Section A.
4
5    She is also likely to succeed on her “arbitrary and capricious” claim under the
6    Administrative Procedure Act (APA). See infra Section B. Accordingly, this case
7
     can be decided on either constitutional or non-constitutional grounds.2
8
9          A.     The Government’s Separation of Ms. L. and Her Child Violates
                  Due Process.
10
11         The Fifth Amendment applies to all “persons” and thus applies to Ms. L. See
12   infra Section A.1. And the separation of Ms. L. from her daughter patently violates
13
     substantive due process because there has been no allegation, much less evidence,
14
15   that Ms. L. is an unfit mother. See infra Section A.2.
16                1.     Ms. L. is protected by due process.
17
           The Due Process Clause, by its terms, applies to any “person,” not just
18
19   citizens. And the Supreme Court has further held that the Clause applies to all
20   noncitizens. See Plyler v. Doe, 457 U.S. 202, 210 (1982) (“Aliens, even aliens
21
     whose presence in this country is unlawful, have long been recognized as ‘persons’
22
23   guaranteed due process of law by the Fifth and Fourteenth Amendments.”);
24
     Mathews v. Diaz, 426 U.S. 67, 77 (1976) (“Even one whose presence in this
25
     country is unlawful, involuntary, or transitory is entitled to that constitutional
26
     2
27     At this time, Ms. L. is not moving on her two other claims in the complaint: that
     her separation violates the asylum statutes (Count II), and that she has a right to
28   release under ICE’s parole guidelines (Count IV).
                                                 5                                  18cv0428
1    protection.”); Wong Wing v. United States, 163 U.S. 228, 238 (1896) (explaining

2    that “all persons within the territory of the United States are entitled to the
3
     protection” the Due Process Clause); Yick Wo v. Hopkins, 118 U.S. 356, 369 (1886)
4
5    (explaining that due process protections are “universal in their application, to all
6    persons within the territorial jurisdiction”).
7
            The fact that Ms. L. and S.S. presented themselves at a port of entry and did
8
9    not enter the country is of no consequence for purposes of the due process analysis
10   in this case. Individuals who present themselves at a port of entry are considered
11
     “arriving” noncitizens and lack certain procedural due process rights to challenge
12
13   their exclusion from the country. See, e.g., Kwai Fun Wong v. United States, 373
14   F.3d 952, 971-72 (9th Cir. 2004). Here, however, Ms. L.’s right to remain with her
15
     daughter is a substantive due process right, and has nothing to do with her
16
17   eligibility to be formally admitted into the United States. And there is no question
18   that all persons, whether arriving or not, have substantive due process rights.
19
     Indeed, as Justice Scalia pointed out, if arriving noncitizens, who are physically on
20
21   U.S. soil, lacked substantive due process rights, it would mean border agents could
22
     literally do anything, including “tortur[ing]” such individuals. Zadvydas v. Davis,
23
     533 U.S. 678, 704 (2001) (Scalia, J., dissenting) (“I am sure [that people with no
24
25   right to enter the country] cannot be tortured . . . .”). 3
26
27   3
      Arriving noncitizens like Ms. L. are actually on U.S. soil, because Ports of Entry
28   are physically located on U.S. territory. Thus, the idea that such individuals have
     not actually entered the United States is understood as a “legal fiction.” See Kwai
                                                   6                                   18cv0428
1          Accordingly, the Ninth Circuit and other courts have made clear that arriving

2    noncitizens stopped at a port of entry have substantive due process rights. Kwai
3
     Fun Wong, 373 F.3d at 973 (holding that non-admitted aliens, who may lack certain
4
5    procedural due process rights with respect to admission, are nonetheless protected
6    by the due process clause); Chi Thon Ngo v. INS, 192 F.3d 390, 396 (3d Cir. 1999)
7
     (“Even an excludable alien is a ‘person’ for purposes of the Fifth Amendment and
8
9    is thus entitled to substantive due process.”); Rosales-Garcia v. Holland, 322 F.3d
10   386, 410 (6th Cir. 2003) (en banc) (“The fact that excludable aliens are entitled to
11
     less process . . . does not mean that they are not at all protected by the Due Process
12
13   Clauses of the Fifth and Fourteenth Amendments.”), cert. denied, 539 U.S. 941
14   (2003); Lynch v. Cannatella, 810 F.2d 1363, 1373 (5th Cir.1987) (the Constitution
15
     “does not limit the right of excludable aliens detained within United States territory
16
17   to humane treatment”); Rodriguez-Fernandez v. Wilkinson, 654 F.2d 1382, 1387
18   (10th Cir. 1981) (“[A]n excluded alien in physical custody within the United States
19
     may not be ‘punished’ without being accorded the substantive and procedural due
20
21   process guarantees of the Fifth Amendment.”).4
22
23   Fun Wong, 373 F.3d at 970-71 (explaining the “entry fiction” by which an arriving
     noncitizen may be physically present on U.S. soil while still being deemed to not
24   have “entered” for certain immigration purposes).
25   4
      In the circumstances of this case, Ms. L.’s substantive due process right also
26   carries with it a corresponding right to procedural due process. Arriving
     noncitizens lack procedural due process rights in the context of challenging their
27   exclusion, since they have no absolute substantive constitutional right not to be
28   excluded. Kwai Fun Wong, 373 F.3d at 971 (“The entry fiction thus appears
     determinative of the procedural rights of aliens with respect to their applications for
                                                7                                 18cv0428
1                 2.   The separation of Ms. L. and her child is unconstitutional
                  because there is no evidence of abuse or neglect.
2
3          The Due Process Clause forbids the government from separating a child from
4    her parents absent a clear showing that the parent is endangering the child, and that
5
     separation is necessary to protect the child. That is not the case here.
6
7          The Supreme Court has long recognized family integrity to be one of the
8    most fundamental liberty interests that the Constitution protects. See, e.g., Santosky
9
     v. Kramer, 455 U.S. 745, 753 (1982) (there is “a fundamental liberty interest of
10
11   natural parents in the care, custody, and management of their child”); Troxel v.
12   Granville, 530 U.S. 57, 65-66 (2000) (plurality op.) (“[T]he interest of parents in
13
     the care, custody, and control of their children [] is perhaps the oldest of the
14
15   fundamental liberty interests recognized by this Court.”) (collecting cases); Lee v.
16   City of Los Angeles, 250 F.3d 668, 685 (9th Cir. 2001) (“It is well established that a
17
     parent has a fundamental liberty interest in the companionship and society of his or
18
19   her child.”) (quotation marks omitted); Duchesne v. Sugarman, 566 F.2d 817, 825
20   (2d Cir. 1977) (“[T]he most essential and basic aspect of familial privacy [is] the
21
     right of the family to remain together without the coercive interference of the
22
23   awesome power of the state.”).
24   admission.”) (emphasis in original); see also id. (“The entry doctrine has not,
25   however, been applied, by the Supreme Court or by this court, to deny all
     constitutional rights to non-admitted aliens.”). Thus, in this case, if the government
26   were ever to come forward with any actual grounds to justify taking S.S. away from
27   Ms. L., Ms. L. would certainly be entitled to a hearing. Otherwise, the government
     could simply allege that Ms. L. and other asylum seekers were unfit parents and rip
28   their children away, without any process.
                                                8                                   18cv0428
1          In light of this fundamental liberty interest, the courts have been loath to

2    allow the government to separate a child from her parent (particularly a child as
3
     young as 7-years-old). See, e.g., United States v. Wolf Child, 699 F.3d 1082, 1092
4
5    (9th Cir. 2012) (“Interference with” the “fundamental right to familial association”
6    “requires ‘a powerful countervailing interest.’”) (quoting Lassiter v. Dep’t of Social
7
     Servs., 452 U.S. 18, 27 (1981)); Halet v. Wend Investment Co, 672 F.2d 1305,
8
9    1310-11 (9th Cir. 1982) (requiring compelling interest to deprive parents of their
10   “fundamental right” to “live with their children”); Jordan by Jordan v. Jackson, 15
11
     F.3d 333, 343 (4th Cir. 1994) (“[T]he relationship between parent and child [is]
12
13   inviolable except for the most compelling reasons.”).
14         And as the courts have further made clear, in practice, this means that
15
     separation may not occur absent a clear demonstration that the parent is abusing or
16
17   neglecting the child, or is a threat to the child’s safety in some way. See, e.g.,
18   United States v. Loy, 237 F.3d 251, 269-70 (3d Cir. 2001) (“[W]here there is
19
     insufficient evidence to support a finding that children are potentially in danger
20
21   from their parents, the state’s interest cannot be said to be ‘compelling,’ and thus
22
     interference in the family relationship is unconstitutional.”); Southerland v. City of
23
     New York, 680 F.3d 127, 152 (2d Cir. 2012) (family-integrity interest “is
24
25   counterbalanced by the compelling governmental interest in the protection of minor
26
     children”); Heartland Acad. Comm. Church v. Waddle, 427 F.3d 525, 534 (8th Cir.
27
     2005) (“[T]he right to family integrity cannot be absolute when the state has a
28

                                                9                                   18cv0428
1    compelling interest in protecting children from abuse.”).

2          In short, in this case, the government has offered no legitimate basis, for
3
     taking a 7 year-old child away from her mother for nearly 4 months. There's been
4
5    no evidence that Ms. L. has abused or neglected her daughter, or that she's an unfit
6    parent. The separation thus violates due process.
7
           B.     The Government’s Separation of Petitioner and Her Child
8                 Violates the APA Because It Is Arbitrary and Capricious.
9          Courts must “set aside” an agency decision that is “arbitrary” or “capricious.”
10
     5 U.S.C. § 706(2)(A). Under this standard, “a reviewing court must determine
11
12   whether . . . there has been a clear error of judgment.” Mt. St. Helens Mining &

13   Recovery Ltd. Partnership v. United States, 384 F.3d 721, 728 (9th Cir. 2004). And
14
     the agency must “supply a reasoned basis for the agency’s action.” Ctr. for
15
16   Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538 F.3d 1172, 1193

17   (9th Cir. 2008) (quotation marks omitted).
18
           The government has provided no reason at all for separating Ms. L. and her
19
20   child. See Ms. L. Decl., Ex. 10 ¶ 3. Its complete failure to explain such a

21   consequential decision is quintessential arbitrary government action. See Encinco
22
     Motorcars, LCC v. Navarro, 136 S. Ct. 2117, 2127 (2016) (agency decision fails
23
24   this standard when “the agency . . . gave almost no reasons at all”); Arrington v.

25   Daniels, 516 F.3d 1106, 1114 (9th Cir. 2008) (where agency “failed to set forth a
26
     rationale for its decision,” the agency’s “lack of explanation for its choice renders
27
28   its decision arbitrary and capricious”). The government has facilities designed

                                               10                                  18cv0428
1    precisely to house mothers and daughters together, not to mention the non-

2    governmental shelters that exist for this purpose. There is no suggestion that
3
     Petitioner is an unfit caretaker. And the government has provided no other reason
4
5    why Petitioner’s 7 year-old daughter should be detained alone, thousands of miles
6    from her mother.
7
     II.   SEPARATION OF PETITIONER FROM HER DAUGHTER HAS
8          CAUSED AND WILL CONTINUE TO CAUSE IRREPARABLE
9          INJURY.
10         Defendants have violated and—unless enjoined—will continue to violate
11
     Petitioner’s constitutional rights. “When an alleged deprivation of a constitutional
12
13   right is involved, most courts hold that no further showing of irreparable injury is
14   necessary.” Warsoldier v. Woodford, 418 F.3d 989, 1001-02 (9th Cir. 2005)
15
     (indicating that only a “colorable claim” of constitutional violation is needed to
16
17   establish irreparable harm at the preliminary injunction stage) (quotations and
18   citation omitted); Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (“[T]he
19
     deprivation of constitutional rights ‘unquestionably constitutes irreparable injury’”)
20
21   (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).
22
           But the injury here is not just the harm that generally flows from a
23
     constitutional violation. The government in this case has forcibly separated a 7
24
25   year-old child from her mother. The trauma of that separation causes especially
26
     severe irreparable injuries. See Stanley v. Illinois, 405 U.S. 645, 647 (1972)
27
     (“[P]etitioner suffers from the deprivation of h[er] child[], and the child[] suffer[s]
28

                                                11                                  18cv0428
1    from uncertainty and dislocation.”); Leiva-Perez v. Holder, 640 F.3d 962, 969-70

2    (9th Cir. 2011) (“separation from family members” constitutes irreparable harm)
3
     (quotation marks omitted).
4
5          The American Academy of Pediatrics has denounced the recent practice of
6    separating immigrant children from their parents, explaining that the “[s]eparation
7
     of a parent or primary caregiver from his or her children should never occur, unless
8
9    there are concerns for [the] safety of the child at the hand of [the] parent.” 5 That
10   view is echoed in the declarations in this case of nine medical and mental health
11
     professionals across multiple fields from around the country, including
12
13   pediatricians, psychiatrists, psychologists, and social workers, with a combined 174
14   years of experience working with families, including immigrant families. See Oo &
15
     Schmidt Decl., Ex. 1 ¶ 1; Pena Decl., Ex. 2 ¶ 1; Griffin Decl., Ex. 3 ¶ 1; Carter
16
17   Decl., Ex. 4, ¶ 1; Linton Decl., Ex. 5 ¶ 1; Shapiro Decl., Ex. 6 ¶ 1; Fortuna Decl.,
18   Ex. 7 ¶ 1; Melikian Decl., Ex. 8 ¶ 1.
19
           As these medical experts observe, there is an “overwhelming body of
20
21   scientific literature” that is “replete with evidence of the irreparable harm and
22
     trauma to children caused by separation from their parents.” Shapiro Decl., Ex. 6 ¶
23
     13. This research makes clear that “separating children from their parents has a real
24
25   and substantial risk of leading to long-term (and irreversible) physiological,
26
     5
27    Policy Statement, Am. Acad. of Pediatrics, Detention of Immigrant Children, Mar.
     2017, http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-
28   0483.
                                                12                                  18cv0428
1    developmental and psychological problems.” Fortuna Decl., Ex. 7 ¶ 21; see id. ¶¶

2    13, 20 (describing a “significant risk for irreparable harm in regards to brain
3
     development, psychological health and thus a trajectory of poor mental health,
4
5    learning and development throughout their life”); Carter Decl., Ex. 4 ¶ 6 (“The
6    psychological effect of traumatic parent-child separation does not end when a child
7
     is reunited with her parent. Its effect can create permanent harm that influences
8
9    them for the remainder of their lifespan.”).
10         Courts have therefore held that any separation of parents and children visits
11
     irreparable harm on both. See McLaughlin v. Pernsley, 876 F.2d 308, 315 (3d Cir.
12
13   1989) (holding that family separation causes irreparable harm because “the bonds
14   between the [parents] and their foster child will weaken continuously with the
15
     passage of time apart”); J.B. v. Washington County, 127 F.3d 919, 925 (10th
16
17   Cir.1997) (“[F]orced separation of parent from child, even for a short time,
18   represents a serious infringement upon both the parents' and child's rights.”)
19
     (internal quotations removed); Nicolson v. Pappalardo, 685 F.Supp.2d 142, 145-46
20
21   (D. Me. 2010) (holding that “[e]very additional day” of separation causes further
22
     harm). As the Fourth Circuit recently explained, “[p]rolonged and indefinite
23
     separation of parents [and] children . . . create not only temporary feelings of
24
25   anxiety but also lasting strains on the most basic human relationships.” Int’l
26
     Refugee Assistance Project v. Trump, --- F.3d ---, 2018 WL 894413, at *18 (4th
27
     Cir. Feb. 15, 2018).
28

                                               13                                   18cv0428
1           These harms are magnified by other traumatic events recently experienced by

2    Ms. L. and her child, including the fact that they had to flee from their home, and
3
     are now detained in a foreign country. Children who have faced recent trauma have
4
5    a “heightened risk” of long-term emotional damage when they are separated from
6    their parents. Fortuna Decl., Ex. 7 ¶ 8; see Shapiro Decl., Ex. 6 ¶¶ 8-9 (describing
7
     traumatic context of detention). The reasons are clear to any parent and confirmed
8
9    by the scientific literature. “Children need their parent’s physical presence to
10   successfully recover from traumatic events in their lives.” Melikian Decl., Ex. 8 ¶
11
     6. When they lose that parental buffer, they are susceptible to what pediatricians
12
13   and psychiatrists have termed “toxic stress,” Linton Decl., Ex. 4 ¶ 4.b, which
14   “threatens the developing brain and is associated with subsequent development of
15
     physical health problems such as diabetes and heart disease, mental health
16
17   problems, and school failure,” Linton Decl., Ex. 4 ¶ 4.c.
18          Defendants’ actions are thus “doubly harmful,” because they impose the new
19
     trauma of separation while robbing Petitioner’s little daughter of her parental buffer
20
21   to cope with that and other traumas. Shapiro Decl., Ex. 6 ¶ 13. Every day they are
22
     separated increases this harm and the risk of lasting damage. See Pena Decl., Ex 2
23
     ¶ 9; Oo & Schmidt Decl., Ex. 1 ¶ 7.
24
25
26
27
     III.   THE BALANCE OF HARDSHIPS AND PUBLIC INTEREST WEIGH
28
            DECIDELY IN FAVOR OF REUNITING PETITIONER WITH HER
                                               14                                 18cv0428
1          DAUGHTER.
2          When ruling on a preliminary injunction motion, “a court must balance the
3
     competing claims of injury and must consider the effect on each party of the
4
5    granting or withholding of the requested relief.” Arc of Cal., 757 F.3d at 991
6    (quoting Amoco Prod. Co. v. Village of Gambell, 480 U.S. 531, 542 (1987)). The
7
     relief requested here would cause no injury to Defendants, since a government
8
9    agency “cannot suffer harm from an injunction that merely ends an unlawful
10   practice . . . .” Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013) (citation
11
     omitted). And the Ninth Circuit has repeatedly held that “it is always in the public
12
13   interest to prevent the violation of a party’s constitutional rights.” Melendres, 695
14   F.3d at 1002 (quoting Sammartano v. First Judicial District Court, 303 F.3d 959,
15
     974 (9th Cir. 2002)).
16
17         Moreover, irrespective of the general harm caused by any constitutional
18   violation, the particular and ongoing harms to Petitioner and her little girl in this
19
     case far outweigh any injury Defendants might claim to suffer. See Hawaii v.
20
21   Trump, 878 F.3d 662, 699 (9th Cir. 2017) (holding that plaintiffs’ “prolonged
22
     separation from family members” outweighed any harm to the government)
23
     (quotation marks omitted). Given this harm, documented by medical experts, the
24
25   balance of harms and public interest militate strongly in favor of immediately
26
     reuniting this little girl and her mother.
27
                                          *       *    *
28

                                                  15                                18cv0428
1          Ms. L. respectfully requests that she and her daughter be released so they can

2    be reunited in a non-governmental shelter, or alternatively, that they be
3
     detained together in a government family detention center. But one way or the
4
5    other, she and her daughter should be reunited, to end this nearly four-month ordeal
6    that no parent and child should ever have to endure.
7
                                       CONCLUSION
8
9          The Court should grant the preliminary injunction and reunite Ms. L. and her
10   daughter.
11
12
     Dated: March 2, 2018                      Respectfully Submitted,
13
                                               /s/Lee Gelernt
14   Bardis Vakili (SBN 247783)                Lee Gelernt*
     ACLU FOUNDATION OF SAN                    Judy Rabinovitz*
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     samdur@aclu.org
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24
25   *Admitted Pro Hac Vice
26
27
28

                                               16                                18cv0428
                             CERTIFICATE OF SERVICE
 1

 2         I hereby certify that on March 2, 2018, I electronically filed the foregoing
 3   with the Clerk for the United States District Court for the Southern District of
 4
     California by using the appellate CM/ECF system. A true and correct copy of this
 5

 6   brief has been served via the Court’s CM/ECF system on all counsel of record.
 7                                              /s/ Lee Gelernt
                                                Lee Gelernt, Esq.
 8                                              Dated: March 2, 2018
 9

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      Ms. L. v. U.S. Immigration and Customs Enforcement, et al.

                    EXHIBITS TO COMPLAINT

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Exhibit 1




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 1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
      Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
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10    Attorneys for Petitioner-Plaintiff
11    Additional counsel on next page
12
                          UNITED STATES DISTRICT COURT
13                      SOUTHERN DISTRICT OF CALIFORNIA
14
     Bibiche Makangu Lubante,
15

16                         Petitioner-Plaintiff,
     v.
17                                                           Case No. 18-cv-00428-DMS-
                                                             MDD
18   U.S. Immigration and Customs Enforcement
     (“ICE”); U.S. Department of Homeland Security
19   (“DHS”); U.S. Customs and Border Protection
20   (“CBP”); U.S. Citizenship and Immigration
     Services (“USCIS”); U.S. Department of Health
21   and Human Services (“HHS”); Office of
22   Refugee Resettlement (“ORR”); Thomas
     Homan, Acting Director of ICE; Greg
23   Archambeault, San Diego Field Office Director,
24   ICE; Joseph Greene, San Diego Assistant Field
     Office Director, ICE, Otay Detention Facility;
25   Kirstjen Nielsen, Secretary of DHS; Jefferson
26   Beauregard Sessions III, Attorney General of the
     United States; Kevin K. McAleenan, Acting
27   Commissioner of CBP; L. Francis Cissna,
28   Director of USCIS; Pete Flores, San Diego Field
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1    Director, CBP; Fred Figueroa, Warden, Otay
     Mesa Detention Center; Alex Azar, Secretary of
2    the Department of Health and Human Services;
3    Scott Lloyd, Director of the Office of Refugee
     Resettlement,
4
                          Respondents-Defendants.
5
6
         JOINT DECLARATION OF HEYMAN OO AND CAREN SCHMIDT
7
8
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA



Bibiche Makangu Lubante,
                        Petitioner,
          v.

                                                   CASE NO. _____________________
U.S. Department of Homeland Security
(“DHS”); U.S. Customs and Border
Protection (“CBP”); U.S. Citizenship and
Immigration Services (“USCIS”); U.S.
Immigration and Customs Enforcement
(“ICE”); Kirstjen Nielsen, Secretary of DHS;
Jefferson Beauregard Sessions III, Attorney
General of the United States; Kevin K.
McAleenan, Acting Commissioner of CBP;
Thomas Homan, Acting Director of ICE; L.
Francis Cissna, Director of USCIS; Pete
Flores, San Diego Field Director, CBP; Greg
Archambeault, San Diego Field Office
Director, ICE; Fred Figueroa, Warden, Otay
Mesa Detention Center,

                             Respondents.


           JOINT DECLARATION OF HEYMAN OO AND CAREN SCHMIDT

I, Heyman Oo, MD, MPH and I, Caren Schmidt, Psy D, make the following declaration based on

our personal knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746

that the following is true and correct:

   1. We have not directly treated the Petitioner but were asked to give this declaration based

       on our collective knowledge and over 25 years of combined experience working with

       vulnerable children and families, including immigrants and trauma survivors.




                                               1
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Exhibit 2




            Exhibit 2, Page 27
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 1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
      Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
 2    Anand Balakrishnan*                          DIEGO &
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16                         Petitioner-Plaintiff,
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     Services (“USCIS”); U.S. Department of Health
21   and Human Services (“HHS”); Office of
22   Refugee Resettlement (“ORR”); Thomas
     Homan, Acting Director of ICE; Greg
23   Archambeault, San Diego Field Office Director,
24   ICE; Joseph Greene, San Diego Assistant Field
     Office Director, ICE, Otay Detention Facility;
25   Kirstjen Nielsen, Secretary of DHS; Jefferson
26   Beauregard Sessions III, Attorney General of the
     United States; Kevin K. McAleenan, Acting
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28   Director of USCIS; Pete Flores, San Diego Field
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2    the Department of Health and Human Services;
3    Scott Lloyd, Director of the Office of Refugee
     Resettlement,
4
                          Respondents-Defendants.
5
6
              DECLARATION OF CRISTINA MUNIZ DE LA PENA
7
8
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Exhibit 3




            Exhibit 3, Page 35
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 1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
      Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
 2    Anand Balakrishnan*                          DIEGO &
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16                         Petitioner-Plaintiff,
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17                                                          Case No. 18-cv-00428-DMS-
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2    the Department of Health and Human Services;
3    Scott Lloyd, Director of the Office of Refugee
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4
                          Respondents-Defendants.
5
6
                      DECLARATION OF MARSHA R. GRIFFIN
7
8
     Spencer E. Amdur (SBN 320069)
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                                                         Exhibit 3, Page 37
                                                         18cv0428
 1,
                           DECLARATION OF MARSHA R. GRIFFIN

 2
 a
 J    I, Marsha R. Griffin, MD, make the following declaration based on my personal

 4    knowledge and declare under the penalty of perjury as set forth in 28 U.S.C. $ 1746
 5
      that the following is true and correct.
 6

         1. I am a Board Certified Pediatrician through the American Board of Pediatrics
 B
               (since 2006) and alicensed physician in the state of Texas. I am a Professor
 9
               of Pediatrics at the University of Texas Rio Grande Valley School   of
10

11,            Medicine (UTRGV SOM). I am the Co-Chair of the American Academy of

12                                                                                         of
               Pediatrics (AAP) Immigrant Health Special Interest Group and a member
13
               the AAP Council on Community Pediatrics.      I am a co-author of the AAP
14

15             Policy Statement "Detention of Immigrant Children," ur$ a contributing
16             .author of the,AAP Immigrant Health Toolkit. I am also the Director of the
         .':
tt
               UTRGV SOM Division of Child and Family Health and the Director of the
18

19             UTRGV SOM Department of Pediatrics Community for Children Program.
20
               My clinical and academic work    is focused on the care of immigrant children
21,
               along the border of Texas and Mexico.
22

23       2. I completed my M.D.      degree at the University of Texas Health Science

24        .    Center at San Antonio (UTHSCSA) in 2003, followed by pediatric residency
25
               at Baylor College of Medicine, Texas Children's Hospital from 2003 through
26

27              2005 and a final year of pediatric residency a|UTHSCSA in 2006. I then

28
               spent over ten years serving in a Federally Qualified Health Center,
                                                   1                         Exhibit 3, Page 38
                                                                              18cv0428
                                                                          for the
1,
        Brownsville Community Health Cenler in Brownsville, Texas, caring
                                                                           and their
2       poorest of the poor along the southern border. Most of my patients
a
J
        families were Spanish speaking only immigrant families. Since
                                                                      2014,I have
4
                                                                              for
5       volunteered my services at the Catholic Charities Humanitarian Center

6       recently released immigrants from the Customs and Border Protection
 7
        Processing Center in McAllen, Texas'
 B

      3. I am making this declaration   based on my clinical experience as a
 9

10       pediatrician providing clinic al carc to immigrant children and academic
11,
                                          families. This statement is my own      and not
         expertise serving children and
1.2

13       on behalf of any group with whom      I am affiliated'

14
      4. I have not personally met with the child in this lawsuit.   The following are

15
                                                                              parent
         my concerns, in general, about how separatinga child from his or her
16

17       would adversely affect his or her health, development and well-being,

1B
         especially where there has already been trauma'
19
      5. unless the   child's safety is at risk from the parent, the separation of a child
20
                                                                           and long-
21,      from the parent is harmful to the child. This harm can be serious

22
          lasting in the setting of previous trauma'
23
                                                                           such as his or
      6. Prolonged stress in the absence of a supportive relationship,
24

25        her primary caregiver, cancause what is known as toxic stress'

 26                                                                   toxic stress can
       7: Medical research   has provided evidence that childhood
 27
          damage the developing brain and is associated      with subsequent development
 28

                                                                            Exhibit 3, Page 39
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 1,
            of physical health problems such as diabetes and heart disease, mental health

 2          problems, behavioral problems and school failure.
 a
 J
      8. In my role as a physician, I attest that the separation of a child from a loving
 4

 5          parent places a child at risk for the long-term serious impacts of toxic stress.

 6    9. I have witnessed      the painful effects of parental separation in the immigration
 7
            setting. I examined a six-year-old girl exhibiting symptoms of possible
 B

 9          PTSD and separation anxiety with hyperarousal, excessive clinginess and

10
            aggressive behavior after witnessing violence in her home country      of
1,1
            Guatemala, andwho was then subsequently separated from her father at the
1,2

1.3         Rio Grande Valley Sector Customs and Border Processing Center. I have

1.4
            seen-   10-year old boys hetd in locked chain-link enclosures at the same CBP
15
            Processing Center sobbing and reaching through the chain-link fencing
16
      .t:

1.7         screaming for their mothers, who were being held in separate enclosures

18
            approximately 50 feet away. There may be nothing more frightening for a
1,9
            vulnerable child than to be forcibly separated from their parent. Even this
20

21          short-term separation will have turtirrg impact on their physical and
22
            emotional well-being.
23
        10. Separation of children from their parents threatens the parent-child
24

25          relationship, especially if the child believes that the parent should have been
26
            capable of preventing the separation and thus any imagined or real
27
            subsequent    injury. In a child's mind, a parent is supposed to protect them
28

                                                                             Exhibit 3, Page 40
                                                                              18cv0428
  1       from evil and dangers. When the parent or primary caregiver is seen                as

  2       impotent in a dangerous situation, this threatens their trust in that caregiver
  a
  J
          and   will   be   difficult to restore.
  4

  5    11. Based on my medical experience and training,          I believe that, if at all

  6      possible, it is never in the best interest of a child to be separated from their
  7
         parent, especially any child who was forced to flee their home country.
  8

  9    12. Prolonged separation from a parent can only exacerbate the irreparable

10
          short- and long-term damage to a child's health and wellbeing.
1,1,

'12    13.I declare under penalty of perjury under the laws of the United States             of

13       America that the foregoing is true and correct, based on my personal

1,4
         knowledge. Executed in Brownsville, Texas, on Febru ary 28,2018.
                'a
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                                            Marsha R. Griffin,
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                                                                                 Exhibit 3, Page 41
                                                                                  18cv0428
Exhibit 4




            Exhibit 4, Page 42
            18cv0428
 1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
      Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
 2    Anand Balakrishnan*                          DIEGO &
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10    Attorneys for Petitioner-Plaintiff
11    Additional counsel on next page
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                          UNITED STATES DISTRICT COURT
13                      SOUTHERN DISTRICT OF CALIFORNIA
14
     Bibiche Makangu Lubante,
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16                         Petitioner-Plaintiff,
     v.
17                                                          Case No. 18-cv-00428-DMS-
                                                            MDD
18   U.S. Immigration and Customs Enforcement
     (“ICE”); U.S. Department of Homeland Security
19   (“DHS”); U.S. Customs and Border Protection
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     Services (“USCIS”); U.S. Department of Health
21   and Human Services (“HHS”); Office of
22   Refugee Resettlement (“ORR”); Thomas
     Homan, Acting Director of ICE; Greg
23   Archambeault, San Diego Field Office Director,
24   ICE; Joseph Greene, San Diego Assistant Field
     Office Director, ICE, Otay Detention Facility;
25   Kirstjen Nielsen, Secretary of DHS; Jefferson
26   Beauregard Sessions III, Attorney General of the
     United States; Kevin K. McAleenan, Acting
27   Commissioner of CBP; L. Francis Cissna,
28   Director of USCIS; Pete Flores, San Diego Field
                                                                            Exhibit 4, Page 43
                                                                            18cv0428
1    Director, CBP; Fred Figueroa, Warden, Otay
     Mesa Detention Center; Alex Azar, Secretary of
2    the Department of Health and Human Services;
3    Scott Lloyd, Director of the Office of Refugee
     Resettlement,
4
                          Respondents-Defendants.
5
6
                      DECLARATION OF LEE CARTER
7
8
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Exhibit 4, Page 48
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Exhibit 5




            Exhibit 5, Page 49
             18cv0428
 1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
      Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
 2    Anand Balakrishnan*                          DIEGO &
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10    Attorneys for Petitioner-Plaintiff
11    Additional counsel on next page
12
                          UNITED STATES DISTRICT COURT
13                      SOUTHERN DISTRICT OF CALIFORNIA
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     Bibiche Makangu Lubante,
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16                         Petitioner-Plaintiff,
     v.
17                                                           Case No. 18-cv-00428-DMS-
                                                             MDD
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23   Archambeault, San Diego Field Office Director,
24   ICE; Joseph Greene, San Diego Assistant Field
     Office Director, ICE, Otay Detention Facility;
25   Kirstjen Nielsen, Secretary of DHS; Jefferson
26   Beauregard Sessions III, Attorney General of the
     United States; Kevin K. McAleenan, Acting
27   Commissioner of CBP; L. Francis Cissna,
28   Director of USCIS; Pete Flores, San Diego Field
                                                                            Exhibit 5, Page 50
                                                                             18cv0428
1    Director, CBP; Fred Figueroa, Warden, Otay
     Mesa Detention Center; Alex Azar, Secretary of
2    the Department of Health and Human Services;
3    Scott Lloyd, Director of the Office of Refugee
     Resettlement,
4
                          Respondents-Defendants.
5
6
                     DECLARATION OF JULIE M. LINTON
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Exhibit 5, Page 54
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Exhibit 6




            Exhibit 6, Page 55
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 1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
      Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
 2    Anand Balakrishnan*                          DIEGO &
 3    AMERICAN CIVIL LIBERTIES                     IMPERIAL COUNTIES
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10    Attorneys for Petitioner-Plaintiff
11    Additional counsel on next page
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                          UNITED STATES DISTRICT COURT
13                      SOUTHERN DISTRICT OF CALIFORNIA
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     Bibiche Makangu Lubante,
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16                         Petitioner-Plaintiff,
     v.
17                                                           Case No. 18-cv-00428-DMS-
                                                             MDD
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     (“ICE”); U.S. Department of Homeland Security
19   (“DHS”); U.S. Customs and Border Protection
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     United States; Kevin K. McAleenan, Acting
27   Commissioner of CBP; L. Francis Cissna,
28   Director of USCIS; Pete Flores, San Diego Field
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                                                                             18cv0428
1    Director, CBP; Fred Figueroa, Warden, Otay
     Mesa Detention Center; Alex Azar, Secretary of
2    the Department of Health and Human Services;
3    Scott Lloyd, Director of the Office of Refugee
     Resettlement,
4
                          Respondents-Defendants.
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6
                     DECLARATION OF ALAN SHAPIRO
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Exhibit 6, Page 63
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Exhibit 6, Page 64
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Exhibit 7




            Exhibit 7, Page 65
            18cv0428
 1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
      Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
 2    Anand Balakrishnan*                          DIEGO &
 3    AMERICAN CIVIL LIBERTIES                     IMPERIAL COUNTIES
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10    Attorneys for Petitioner-Plaintiff
11    Additional counsel on next page
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                          UNITED STATES DISTRICT COURT
13                      SOUTHERN DISTRICT OF CALIFORNIA
14
     Bibiche Makangu Lubante,
15

16                         Petitioner-Plaintiff,
     v.
17                                                           Case No. 18-cv-00428-DMS-
                                                             MDD
18   U.S. Immigration and Customs Enforcement
     (“ICE”); U.S. Department of Homeland Security
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     Office Director, ICE, Otay Detention Facility;
25   Kirstjen Nielsen, Secretary of DHS; Jefferson
26   Beauregard Sessions III, Attorney General of the
     United States; Kevin K. McAleenan, Acting
27   Commissioner of CBP; L. Francis Cissna,
28   Director of USCIS; Pete Flores, San Diego Field
                                                                            Exhibit 7, Page 66
                                                                            18cv0428
1    Director, CBP; Fred Figueroa, Warden, Otay
     Mesa Detention Center; Alex Azar, Secretary of
2    the Department of Health and Human Services;
3    Scott Lloyd, Director of the Office of Refugee
     Resettlement,
4
                          Respondents-Defendants.
5
6
                     DECLARATION OF LISA R. FORTUNA
7
8
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                                                      Exhibit 7, Page 67
                                                      18cv0428
                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA


Bibiche Makangu Lubante,
                        Petitioner,
          v.

U.S. Department of Homeland Security
(“DHS”); U.S. Customs and Border                  CASE NO. _____________________
Protection (“CBP”); U.S. Citizenship and
Immigration Services (“USCIS”); U.S.
Immigration and Customs Enforcement
(“ICE”); Kirstjen Nielsen, Secretary of DHS;
Jefferson Beauregard Sessions III, Attorney
General of the United States; Kevin K.
McAleenan, Acting Commissioner of CBP;
Thomas Homan, Acting Director of ICE; L.
Francis Cissna, Director of USCIS; Pete
Flores, San Diego Field Director, CBP; Greg
Archambeault, San Diego Field Office
Director, ICE; Fred Figueroa, Warden, Otay
Mesa Detention Center,

                            Respondents.

                          DECLARATION OF LISA R. FORTUNA


I, Lisa R. Fortuna, MD, MPH, M.Div., make the following declaration based on my personal

knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the

following is true and correct:

       1.! I have not directly treated the Petitioner but was asked to give this declaration based

           on my knowledge as a psychiatrist with over 20 years of experience working with

           vulnerable children and families, including immigrants and trauma survivors.

       2.! I am a graduate of Yale University (BA in Psychology 1991); I earned a Doctor of

           Medicine (MD) degree from New Jersey Medical School in 1996; a Masters of Public

           Health (MPH) from Hunter College School of Public Health, City University of New

           York in 2000, a Masters of Divinity in 2012 and I completed a Pediatric Health



                                                                                         Exhibit 7, Page 68
                                                                                         18cv0428
   Services Research Fellowship at Harvard Medical School, Boston in 2003.

3.! I am board certified in general psychiatry and child and adolescent psychiatry

   (Diplomat of the American Board of Psychiatry and Neurology), and addiction

   medicine. I am a health services researcher and have been an investigator on both

   national and international studies of immigrant and refugee mental health and the

   impact of trauma and post-traumatic stress in children. My work has contributed to

   the field’s understanding of treatment needs and interventions for immigrant and

   refugee children and adults. My clinical training and experience in the practice of

   psychiatry and child and adolescent psychiatry offers me skills and specialization in

   the psychological and social development of individuals across the life span and the

   impact of biology, traumatic stress and environment on mental health.

4.! I am the Director of the Section (Division) of Child and Adolescent Psychiatry for the

   Boston Medical Center (BMC), and Assistant Professor in the Department of

   Psychiatry at Boston University School of Medicine, where I conduct child

   behavioral health and disparities research and practice clinical psychiatry (treating

   children and youth ages 3 to 21). Our clinical division includes offering child-parent

   psychotherapy, a dyadic approach for young children (0-5 years of age) and parents

   who have both experienced trauma. In this latter context I have developed clinical

   experience in working with young immigrant and refugee children who have

   experienced trauma, including witnessing violence and traumatic separations.

5.! My clinical career has focused on treating a range of childhood psychiatric disorders

   and I have particular interest and expertise in Post-Traumatic Stress Disorder (PTSD),

   access to care, and quality of treatment for underserved and vulnerable populations




                                                                                 Exhibit 7, Page 69
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   including children, immigrant and refugee populations. I am a cofounder of the

   Refugee Immigrant Assistance Center Community Counseling (RIAC-CC), a mental

   health clinic in Boston. My clinical work at RIAC involves the mental health

   assessment and treatment of immigrant and refugee patients. I have served as a

   clinical investigator on several National Institutes of Health funded research projects

   with most of this work focused on immigrant mental health. I conduct collaborative

   research with colleagues both nationally and internationally, including most recently

   a clinical intervention research study of Latino immigrants in the United States and

   Spain.

6.! I have published several articles and a book in the field of psychiatry, largely on

   issues related to immigrant (including unaccompanied minors) and minority mental

   health, PTSD and adolescent substance use disorders. I have included my curriculum

   vitae with this declaration, attached hereto as Appendix 1. The following are select

   publications relevant to this declaration:

       a.!     Fortuna LR, Porche MV, Alegria M. Political violence, psychosocial

               trauma, and the context of mental health services use among immigrant

               Latinos in the United States. Ethnicity & Health 2008 Nov;13(5):435!63.

               PMCID: PMC2771411.

       b.!     Porche, MV, Fortuna, LR, Lin, J. & Alegria M. (2011) Childhood trauma

               events and psychiatric disorders as correlates of school dropout in a national

               sample of young adults, Child Development. 82, 982-998. PMCID:

               PMC3089672.

       c.!     Fortuna LR, Alvarez K, Ramos Ortiz Z, Wang Y, Mozo Alegría X, Cook




                                                                                  Exhibit 7, Page 70
                                                                                  18cv0428
                  BL, Alegría M. Mental health, migration stressors and suicidal ideation

                  among Latino immigrants in Spain and the United States. European

                  Psychiatry. 2016 Aug; 36:15-22. PMID: 27311103.

          d.!     Ramos Z, Fortuna L.R, Porche MV, Wang Y, Shrout PE, Loder S, McPeck

                  S, Noyola N, Toro M, Carmona R, Alegría M. Posttraumatic Stress

                  Symptoms and their Relationship to Drug and Alcohol use in an

                  International Sample of Latino Immigrants. J Immigrant and Minority

                  Health. 2016 May 5. PMID: 27150593.

   7.! To prepare this declaration, I reviewed the scientific literature in addition to relying on

       the knowledge accumulated during my education, research and clinical experience

       described above.

   8.! It is my opinion that immigrant and refugee young children who have faced

       psychological trauma are at heightened risk of suffering from irreversible,

       psychological harm and especially if a child also experiences a traumatic separation

       from their parent. Based on my review of scientific and medical literature, as well as

       my practice in the field, my opinions are as follows.

Separation for a Primary Attachment Figure is Psychologically Hazardous for Young

                           Immigrant and Refugee Children

   9.! Children who are detained are at risk of a variety of psychosocial and developmental

       problems linked to their detention experiences. A variety of factors contribute to the

       distress experienced by children who are held in detention, including previous trauma

       experienced in their home country or during migration, disruption of the family unit,

       separation from parents and poor and unsafe conditions of detention (Young & Gordon,



                                                                                       Exhibit 7, Page 71
                                                                                       18cv0428
          2016).1

    10.!The study of attachment has illuminated the critical role of early caregiving

          relationships in fostering healthy development and forming a basis for future

          relationships and mental health well-being (Ainsworth, Blehar, Waters, & Wall, 2015;

          Bowlby, 1988; Freud & Burlingham, 1943; Lyons-Ruth, 1996; Lyons-Ruth, Zoll,

          Connell, & Grunebaum, 1986). The loss of a parent is a severe hardship for any child;

          children who have suffered traumatic stress and other losses as many refugee/ asylum

          seeking children have, are particularly vulnerable to negative psychological

          consequences related to separation from parent.

    11.!Risk factors known to be especially hazardous for children include separations from

          their primary attachment figure and loss or disappearance of a parent, exposure to

          traumatic events such as abuse, and damaging social environments (Carlson, 2012).

    12.!In my clinical practice, I have evaluated several children asylum seekers whose anxiety,

          depression and post-traumatic stress are worsened during periods of uncertainty, times

          of separation from primary caregiver and when he or she is unable to have the physical

          and emotional protection from his or her parent.

Children Who Have Experienced Traumatic Loss are at Risk of Suffering Irreparable

                             Harm to Their Brain Development

    13.!Severe stress such as traumatic separations in infancy and childhood may have serious,

          long-lasting effects on a child’s brain development, affecting future manifestations of

          negative emotions, maladaptive behaviors, and conflictual attachments. As a result,

          children thus affected operate in a survival mode, rather than learning to flexibly adapt



    1
        Complete citations for medical literature cited herein is referenced in Appendix 2.


                                                                                        Exhibit 7, Page 72
                                                                                        18cv0428
       to environmental demands

    14.!Factors such as the level of supervision, familial and social support make a difference

       in the level of distress children experience. Hodes et al., (2008) discovered that PTSD

       and depressive disorders were significantly higher in children with low-support living

       arrangements as compared to those with good social supports and attachments.

    15.!In addition to the issue of support, a host of risks and influences create and exacerbate

       mental distress among children including if children have lost their home, belongings,

       family and friends (Carlson et al., 2012). Other influences on stress include language

       barriers, uncertainty about asylum status, fears of deportation, the process of

       immigration itself, and the lack of personal and structural support all contribute to the

       distress experienced by a child and the long-term risk to their cognitive and emotional

       development (Bronstein & Montgomery, 2011).

    16.!The mental health risks thus far described may surface or be aggravated when children

       are placed in confined, institutional settings and are also separated from family

       members (Lee, 2012). Social isolation and being deprived of ones caretakers are risk

       factors for poor psychological outcomes (Ehnthold & Yule, 2006; Ellis, et al., 2008;

       Grove & Zwi, 2006).

Children Who Have Experienced Traumatic Loss Are at Risk of Suffering Irreparable

                              Harm to their Mental Health

    17.!Traumatic exposures, especially long term and recurrent, combined with the loss of

       attachment figures and social instability can impede personality and identity

       development and subsequently impair functioning (Howard et al, 2011; Smid et al.,

       2011).




                                                                                     Exhibit 7, Page 73
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18.!Bronstein and Montgomery (2011) examined the developmental impact on refugee

   immigrant children highlighting the uncertainty that is created for these children due to

   separations from attachment figures and the challenges this presents to their learning,

   functioning and well-being. Without parents, family and others who care about them

   to fill emotional needs, a child’s adaptive processes are impaired by their uncertain

   future prospects (Chavez & Menjivar, 2010). In the long term, this can result in school

   failure, drop out, persistent poverty and hopelessness and even suicidality later in life

   (Fortuna et al., 2016; Porche et al., 2011).

19.!Children of families seeking asylum have by definition experienced traumatic stress,

   often severe in nature. The more terror inducing the trauma is and the longer its duration

   is, particularly when combined with the absence of a parent, the more devastating its

   effects on children (Boothby, 1994). Trauma exposure in children and adolescents can

   impede personality development, causing disturbances in sense of self, impairment of

   basic trust, attachment disorders, and sharp deterioration in functioning (van der Kolk,

   1996; Carlson, 2012). This adversely impacts interpersonal attachments and

   developments in the future (Moro, 2003).

20.!It is my opinion that when refugee and immigrant children, especially young children

   are separated from their parent and primary attachment figure, they are placed at

   significant risk for irreparable harm in regards to brain development, psychological

   health and thus a trajectory of poor mental health, learning and development throughout

   their life. I treat children in my clinical practice who range the ages of 3 to 17 years old

   who are still recovering from past separations and traumatic losses. Children who are

   seeking asylum who are accompanied by their parents, should be maintained together




                                                                                    Exhibit 7, Page 74
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           with their parent/ primary attachment figure. Imposing a traumatic separation upon a

           child and their parent further increases the risk that the child will develop long-term

           psychological consequences and that the dyadic relationship will be harmed.

                                       Clinical Recommendation

       21.!Based on my clinical experience and the foregoing analysis, it is my opinion that

           separating children from their parents has a real and substantial risk of leading to

           long-term (and irreversible) physiological, developmental and psychological

           problems. If children and parents are detained it is absolutely necessary, that they are

           not separated from one another.



I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct, based on my personal knowledge. Executed in Boston,

Massachusetts on February 17, 2018




               Lisa R. Fortuna, MD, MPH, M.Div.




                                                                                          Exhibit 7, Page 75
                                                                                          18cv0428
                                           Appendix 2

Ainsworth, M. D. S., Blehar, M. C., Waters, E., Wall, S. N. (2015). Patterns of attachment: A
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                                                                                     Exhibit 7, Page 77
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Exhibit 8




            Exhibit 8, Page 78
            18cv0428
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 2    Anand Balakrishnan*                          DIEGO &
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                          UNITED STATES DISTRICT COURT
13                      SOUTHERN DISTRICT OF CALIFORNIA
14
     Bibiche Makangu Lubante,
15

16                         Petitioner-Plaintiff,
     v.
17                                                           Case No. 18-cv-00428-DMS-
                                                             MDD
18   U.S. Immigration and Customs Enforcement
     (“ICE”); U.S. Department of Homeland Security
19   (“DHS”); U.S. Customs and Border Protection
20   (“CBP”); U.S. Citizenship and Immigration
     Services (“USCIS”); U.S. Department of Health
21   and Human Services (“HHS”); Office of
22   Refugee Resettlement (“ORR”); Thomas
     Homan, Acting Director of ICE; Greg
23   Archambeault, San Diego Field Office Director,
24   ICE; Joseph Greene, San Diego Assistant Field
     Office Director, ICE, Otay Detention Facility;
25   Kirstjen Nielsen, Secretary of DHS; Jefferson
26   Beauregard Sessions III, Attorney General of the
     United States; Kevin K. McAleenan, Acting
27   Commissioner of CBP; L. Francis Cissna,
28   Director of USCIS; Pete Flores, San Diego Field
                                                                            Exhibit 8, Page 79
                                                                            18cv0428
1    Director, CBP; Fred Figueroa, Warden, Otay
     Mesa Detention Center; Alex Azar, Secretary of
2    the Department of Health and Human Services;
3    Scott Lloyd, Director of the Office of Refugee
     Resettlement,
4
                          Respondents-Defendants.
5
6
                     DECLARATION OF KAREN MELIKIAN
7
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                                                      Exhibit 8, Page 80
                                                      18cv0428
                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA



Bibiche Makangu Lubante,
                       Petitioner,
          v.

U.S. Department of Homeland Security               CASE NO. _____________________
(“DHS”); U.S. Customs and Border
Protection (“CBP”); U.S. Citizenship and
Immigration Services (“USCIS”); U.S.
Immigration and Customs Enforcement
(“ICE”); Kirstjen Nielsen, Secretary of DHS;
Jefferson Beauregard Sessions III, Attorney
General of the United States; Kevin K.
McAleenan, Acting Commissioner of CBP;
Thomas Homan, Acting Director of ICE; L.
Francis Cissna, Director of USCIS; Pete
Flores, San Diego Field Director, CBP; Greg
Archambeault, San Diego Field Office
Director, ICE; Fred Figueroa, Warden, Otay
Mesa Detention Center,

                            Respondents.


                          DECLARATION OF KAREN MELIKIAN

I, Karen Melikian, PhD, make the following declaration based on my personal knowledge and
declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true and
correct:
    1. I have not directly treated the Petitioner but was asked to give this declaration based on my
         knowledge as a licensed social worker with 36 years of experience working with
         vulnerable children and families, including immigrants and trauma survivors.
    2. I am a Social Worker in the state of Massachusetts and have been licensed since 1982. I
         earned my MSW at the University of Pennsylvania School of Social Work in 1980 and
         my PhD from Simmons College School of Social Work in 1996. I have worked as a
         Teaching Associate in Psychiatry at McLean Hospital since 2005 and as a faculty
         member for the Child and Adult Graduate Programs at the Boston Psychoanalytic Society
         and Institute since 2015.
    3. My professional experience includes crisis and long term clinical work with children and
         families at different developmental stages and in various medical and community based
         settings. In these roles, I have been involved with countless immigrant families as well as
         a variety of situations where children and parents have been separated. Additionally, I
         have assessed numerous children and adults who are seeking asylum through my
         volunteer work with Physicians for Human Rights]
    4. It is my understanding that, in this case, the Petitioner and 7-year-old daughter presented at
         the United States border requesting asylum after fleeing the Democratic Republic of the
         Congo. Mother and daughter were subsequently separated, with mother now in a
         detention center in San Diego and the daughter, unaccompanied by any family member,
         now residing in an ORR facility in Chicago.
    5. Based on my work experience, I can attest that the separation of any child from their
         parent presents complicated obstacles for healthy functioning and development.
         Separating asylum-seeking parents and their children who are already fleeing traumatic
         circumstances will have severe negative medical consequences. It is my professional
         opinion that this current situation perpetuates extreme emotional destabilization and          Exhibit 8, Page 81
         purposeful neglect of this child’s basic needs.                                                18cv0428
    6. Parents provide stability, containment, and comfort to their children to enable healthy
        functioning and growth. Communities in chaos create an already fragile environment for
        the developing child. Parental relationships help to ameliorate the impact of strife on
        children by modeling unity in the face of stressors. Children need their parent’s physical
        presence to successfully recover from traumatic events in their lives.
    7. In the absence of secure attachments to known and trustworthy adults, children become
        confused and overwhelmed with the effects of sadness, fear, and guilt, making it difficult
        for them to think clearly and maintain realistic hope for the future. Even the most resilient
        child will experience debilitating effects of trauma, including anxiety, despair,
        disturbance of sleep and hyper arousal, when separated from their parent.
    8. Parental protection, nurturance, and guidance speeds recovery and supports better coping
        skills for traumatized children. State of the art treatment for parents and children who
        have experienced trauma places the family itself at the center of the service delivery.
        Adaptation to demanding situations is facilitated by remaining connected to the
        individual that the child loves and depends on for a sense of continuity.
    9. Awareness of the destructive consequences of disrupted family ties and faith in the
        ameliorative value of family unity is a proven prerequisite for both the child’s and the
        parent’s mental and physical survival.
I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct, based on my personal knowledge. Executed in Boston,
Massachusetts on [DATE]




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                                                                                                        Exhibit 8, Page 82
                                                                                                        18cv0428
Exhibit 9




            Exhibit 9, Page 83
            18cv0428
 1                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
 2

 3   Ms. L.,
 4                          Petitioner-Plaintiff,
     v.
 5
     U.S. Immigration and Customs Enforcement         Case No. 18-cv-00428-DMS-MDD
 6   (“ICE”); U.S. Department of Homeland Security
     (“DHS”); U.S. Customs and Border Protection
 7   (“CBP”); U.S. Citizenship and Immigration
     Services (“USCIS”); U.S. Department of Health
 8   and Human Services (“HHS”); Office of
     Refugee Resettlement (“ORR”); Thomas
 9   Homan, Acting Director of ICE; Greg
     Archambeault, San Diego Field Office Director,
10   ICE; Joseph Greene, San Diego Assistant Field
     Office Director, ICE, Otay Detention Facility;
11   Kirstjen Nielsen, Secretary of DHS; Jefferson
     Beauregard Sessions III, Attorney General of the
12   United States; Kevin K. McAleenan, Acting
     Commissioner of CBP; L. Francis Cissna,
13   Director of USCIS; Pete Flores, San Diego Field
     Director, CBP; Fred Figueroa, Warden, Otay
14   Mesa Detention Center; Alex Azar, Secretary of
     the Department of Health and Human Services;
15   Scott Lloyd, Director of the Office of Refugee
     Resettlement,
16

17                           Respondents-Defendants.
18

19           UNRESTRICTED DECLARATION OF ELIZABETH LOPEZ
20
     I, Elizabeth Lopez, make the following declaration based on my personal
21
     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746
22

23   that the following is true and correct:
24
          1. I am the immigration attorney for Plaintiff-Petitioner, Ms. L, and represent
25
             her in her immigration proceedings. I was retained on February 12, 2018.
26

27           Prior to that date, Ms. L. had no legal representation.
28
                                                                            Exhibit 9, Page 84
                                                                            18cv0428
1    2. I am currently employed at the Southern California Immigration Project in

2       San Diego, CA.
3
     3. During one of my visits with Ms. L. in the Otay Mesa Detention Center in
4
5       San Diego, CA, she provided me with a copy of her daughter, S.S.’s, school
6       identification card. This ID is from S.S.’s school in the Democratic Republic
7
        of the Congo and has a picture of S.S. The picture is attached as an
8
9       addendum to this declaration (restricted).
10   4. On or about November 1, 2017, Ms. L. and her daughter, S.S., presented
11
        themselves at a port of entry and expressed a fear of returning to the Congo.
12
13      Although Ms. L. and S.S. speak only Lingala, they were able to communicate
14      their fear of returning to the Congo in the little bit of Spanish they knew.
15
        Sometime after arriving in the United States, Ms. L. was given a credible fear
16
17      interview by an asylum officer. To satisfy the credible fear standard, an
18      asylum applicant must demonstrate a significant possibility that she will
19
        ultimately obtain asylum in the United States. Ms. L. passed her credible fear
20
21      interview, and was then placed into full immigration proceedings. Ms. L. fled
22
        her home in the Democratic Republic of the Congo in fear of her life. She is
23
        catholic and sought shelter with S.S. in a church for several days before
24
25      eventually escaping the Congo.
26
27
     I declare under penalty of perjury under the laws of the United States of
28
                                                                         Exhibit 9, Page 85
                                                                         18cv0428
Exhibit 9, Page 86
18cv0428
Exhibit 10




             Exhibit 10, Page 87
              18cv0428
 1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
      Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
 2    Anand Balakrishnan*                          DIEGO &
 3    AMERICAN CIVIL LIBERTIES                     IMPERIAL COUNTIES
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                          UNITED STATES DISTRICT COURT
13                      SOUTHERN DISTRICT OF CALIFORNIA
14
     Bibiche Makangu Lubante,
15

16                         Petitioner-Plaintiff,
     v.
17                                                          Case No. 18-cv-00428-DMS-
                                                            MDD
18   U.S. Immigration and Customs Enforcement
     (“ICE”); U.S. Department of Homeland Security
19   (“DHS”); U.S. Customs and Border Protection
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21   and Human Services (“HHS”); Office of
22   Refugee Resettlement (“ORR”); Thomas
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23   Archambeault, San Diego Field Office Director,
24   ICE; Joseph Greene, San Diego Assistant Field
     Office Director, ICE, Otay Detention Facility;
25   Kirstjen Nielsen, Secretary of DHS; Jefferson
26   Beauregard Sessions III, Attorney General of the
     United States; Kevin K. McAleenan, Acting
27   Commissioner of CBP; L. Francis Cissna,
28   Director of USCIS; Pete Flores, San Diego Field
                                                                            Exhibit 10, Page 88
                                                                             18cv0428
1    Director, CBP; Fred Figueroa, Warden, Otay
     Mesa Detention Center; Alex Azar, Secretary of
2    the Department of Health and Human Services;
3    Scott Lloyd, Director of the Office of Refugee
     Resettlement,
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                          Respondents-Defendants.
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6
                          DECLARATION OF MS. L.
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